       Case 1:17-cr-00063-KBJ Document 11-1 Filed 06/20/17 Page 1 of 10


                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       United States Attorney

                                                       District of Columbia




Joseph Scrofano, Esq.
406 5th Street NW, Suite 100
Washingto, D.C.20001
Counsel for the Defendant Subgidio


                United States v. Kelvin Subgidio,

Dear Counsel:

       By this letter, the government is memorializingthe   full extent of the discovery   the
government hand-delivered to you on May 19,2017.

       DOCUMENTS: The following documents are enclosed:

   -   MPD 163 - Arrest Report for Kelvin Subgidio, dated 1213112016,27 pages.
   -   MPD - Arrestee's Injury/ Illness Report of Kelvin Subgidio, dated 1213112016, 4 pages.
   -   MPD - Certificate of Record/No Record of Firearms Registration Certificate dated
       11212017,2 pages.
   -   Department of Forensic Science D.C.    -   Report of Examination, dated 0110512017,8
       pages.
   -   MPD- Drug Interdiction Unit/ Seizure List, I page.
   -   USDOJ- Report of Drug Property Collected, Purchase, dated l2131116, I page.
   -   USDOJ- DEA Chemical Analysis Report dated 03/01 l17 , 6 pages.
   -   Superior Court Search Warrant, dated 03/0612017,6 pages.
   -   Superior Court Search Warrant, dated 0210912017,6 pages.
   -   Superior Court Search Warrant Return, 3 pages.
   -   Superior Court Complaint l2l3l12016, 3 pages.
   -   CD containing numerous photos of crime scene and search warrant.
Case 1:17-cr-00063-KBJ Document 11-1 Filed 06/20/17 Page 2 of 10
        Case 1:17-cr-00063-KBJ Document 11-1 Filed 06/20/17 Page 3 of 10

                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       United States Attomey

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       lilashington, D.C. 20530


                                                       May 79,2017



Carlos Vanegas, Esq.
Assistant Federal Public Defender
625Indiana Ave., N.W.
Suite 550
Washington, D.C.20001


                United States v. Briana Bames, 17-CR-00063-02 (KBJ)

Dear Counsel:

       I write to provide you with discovery in the above-titled case.

       DOCUMENTS: The following documents are enclosed:

   -   MPD 163 - Arrest Report for Kelvin Subgidio and Briana Barnes, dated 1213112016,27
       pages.
   -   MPD - Arrestee's Injury/ Illness Report of Kelvin Subgidio, dated 1213112016,4 pages.
   -   MPD - Certificate of RecordAllo Record of Firearms Registration Certificate dated
       11212017,2 pages.
   -   Department of Forensic Science D.C.   -   Report of Examination, dated 0110512017,8
       pages.
   -   MPD- Drug Interdiction Unit/ Seizure List, I page.
   -   USDOJ- Report of Drug Property Collected, Purchase, dated 12131116, I page.
   -   USDOJ- DEA Chemical Analysis Report dated 03101117,6 pages.
   -   Superior Court Search Warrant, dated 0310612017,6 pages.
   -   Superior Court Search Warrant, dated 02109/2017, 6 pages.
   -   Superior Court Search Warrant Return, 3 pages.
   -   Superior Court Complaint 1213112016, 3 pages.
   -   CD containing numerous photos of crime scene and search warrant.
Case 1:17-cr-00063-KBJ Document 11-1 Filed 06/20/17 Page 4 of 10




If you   have any questions or concems, please do not hesitate to contact me at (202) 252-




                                       Emory V. Cole
                                       Veronica Jennings
        Case 1:17-cr-00063-KBJ Document 11-1 Filed 06/20/17 Page 5 of 10
                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       United States Attorney

                                                       District of Columbia


                                                      Judiciary Cenler
                                                      555 Fourth St., N.W.
                                                       lYashington, D.C. 20530


                                                       May 24,2017



Joseph Scrofano, Esq.
406 5th Street NW, Suite 100
Washingto, D.C. 20001
Counsel for the Defendant Subgidio


                United States v. Kelvin Subgldio, 17-CR-00063-01 (KBJ)

Dear Counsel:

       I write to provide you with additional discovery in the above-titled case.

      DOCUMENTS: The following documents are enclosed:

      DVD video statement for Kelvin Subgidio, dated 1213112016


      If you have any questions or concerns,   please do not hesitate to contact me at (202) 252-



                                             Sincerely yours,

                                             CHANNING D. PHILLPS
                                             LINIT



                                            Emory Yfole
                                            Veronic6 Jennings
                                            Assistant United States Attomeys
                                            202-2s2-7692
        Case 1:17-cr-00063-KBJ Document 11-1 Filed 06/20/17 Page 6 of 10
                                                        U.S, Department of Justice

                                                        Channing D. Phillips
                                                        United States Attomey

                                                        District of Columbia


                                                       Judiciary Cenler
                                                       555 Fourth St,, N.W,
                                                       Ilashington, D.C, 20530


                                                        May 24,2017



Carlos Vanegas, Esq.
Assistant Federal Public Defender
625 Indiana Ave., N.W.
Suite 550
Washington, D.C.20001


                 Uniled States v. Briana Barnes, 17-CR-00063-02 (KBJ)

Dear Counsel:

       I write to provide you with additional discovery in the above-titled      case.


       DOCUMENTS: The following documents are enclosed:

   -   DVD video statement for Briana Bames dated       1213112016



       If you   have any questions or concerns, please do not hesitate to contact me at (202) 252-



                                              Sincerely yours,

                                              CHANNING D. PHILLIPS




                                              Emory Y. (ole
                                              Veronica Jennings
                                              Assistant United States Attorneys
                                              202-252-7692

                                                 I
        Case 1:17-cr-00063-KBJ Document 11-1 Filed 06/20/17 Page 7 of 10
                                                      U.S. Department of Justice

                                                      Channing D. Phillips
                                                      United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.l|t.
                                                      ll/oshingron, D.C. 205 30


                                                      June    9,2017


Joseph Scrofano, Esq.
406 5th Street NW, Suite 100
Washingto, D.C.20001
Counsel for the Defendant Subgidio


                United States v. Kelvin Subgidio, l7-CR-00063-01 (KBJ)

Dear Counsel:

       I write to provide you with additional discovery in the above-titled case.

       DOCUMENTS: The following documents are enclosed:

       DVD video statement for Briana Barnes, dated 1213112016
       CD of search warrant of defendant's Subgidio Samsung cellphone recovered at the time
       of his arrest
       Latent fingerprint report and result analysis (4 pages)
       ATF report on firearm recovered from defendant's Subgidio's vehicle (4 pages)

       Regarding the buccal swabs taken from defendant Subgidio and DNA testing of the
       firearm recovered from defendant Subgidio's vehicle; today the govemment learned that
       there had not been a request for examination submitted. Consequently, we ordered DNA
       analysis of the firearm today and the results of that analysis will come back on or about
       August 18,2017 .
Case 1:17-cr-00063-KBJ Document 11-1 Filed 06/20/17 Page 8 of 10




                             Emory V.
                             Veronica J
                             Assistant Ly'ni   States Attorneys
         Case 1:17-cr-00063-KBJ Document 11-1 Filed 06/20/17 Page 9 of 10




Carlos Vanegas, Esq.
Assistant Federal Public Defender
625 Indiana Ave., N.W.
Suite 550
Washington, D.C. 20001

                              United States v. Briana Barnes, 17-CR-00063-02 (KBJ)

Dear Counsel:

       I write to provide you with additional discovery in the above-titled case'

       DOCUMENTS: The following documents are enclosed:.

   -   DVD video statement for Kelvin Subgidio, dated 1213112016
   -   CD of search warrant of defendant Subgidio Samsung cellphone recovered at the time of
       his arrest
   -   Latent f,rngerprint report and result analysis (4 pages)
   -   ATF report on firearm recovered from defendant Subgidio's vehicle (4 pages)

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       analysis of the firearm today and the results of that analysis will come back on or about
       August 18,2017.
Case 1:17-cr-00063-KBJ Document 11-1 Filed 06/20/17 Page 10 of 10




                            Emory V. Cole
